
700 S.E.2d 927 (2010)
STATE of North Carolina
v.
Stacey McCoy BROOKS.
No. 156P10.
Supreme Court of North Carolina.
August 26, 2010.
Tracy C. Curtner, Assistant Attorney General, for State.
Stacey McCoy Brooks, pro se.

ORDER
Upon consideration of the petition filed on the 7th of April 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th of August 2010."
